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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                      Case No. 15-CR-20652-6
       vs.                                            HON. GEORGE CARAM STEEH

D-6 ROBERT M. BROWN II,

                Defendant.
_______________________________/

               ORDER STRIKING JUDICIAL NOTICE OF FRAUD [DOC. 266]

       Defendant Robert M. Brown II, although represented by counsel, has filed judicial

notice of fraud based on alleged violations of the Speedy Trial Act, as well as violations

of constitutional rights. A person's right to appear pro se or by counsel is disjunctive,

and a person in a criminal matter has no right, constitutional or otherwise, to "hybrid

representation" that results in simultaneous self-representation and representation by

counsel. 28 U.S.C. § 1654; United States v. Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987).

Accordingly,

       IT IS ORDERED that the Clerk hereby STRIKE defendant's judicial notice of

fraud [doc. 266].

Dated: August 3, 2016
                                              s/George Caram Steeh
                                              GEORGE CARAM STEEH
                                              UNITED STATES DISTRICT JUDGE

                                    CERTIFICATE OF SERVICE

                       Copies of this Order were served upon Robert Brown II
                    #275201, Sanilac County Jail, 65 N. Elk Street, Sandusky, MI
                                  48471 and attorneys of record on
                         August 3, 2016, by electronic and/or ordinary mail.

                                          s/Barbara Radke
                                            Deputy Clerk
